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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                       8:16CR66

       vs.
                                                                           ORDER
LORINDA CABRERA,

                        Defendant.


        This matter is before the court on defendant's MOTION TO EXTEND TIME FOR FILING
MOTION TO SUPPRESS [60]. For good cause shown, I find that the motion should be granted.
The defendant will be given an approximate 20-day extension. The Amended Motion to Suppress
shall be filed by June 1, 2016.
        IT IS ORDERED:
        1.      Defendant's MOTION TO EXTEND TIME FOR FILING MOTION TO SUPPRESS
[60] is granted. The Amended Motion to Suppress shall be filed on or before June 1, 2016.
        2.      The defendant is ordered to file the affidavit required by NECrimR 12.1(a) regarding
speedy trial as soon as practicable.
        3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between today’s date and June 1, 2016, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


        Dated this 10th day of May, 2016

                                                       BY THE COURT:
                                                       s/ F.A. Gossett, III
                                                       United States Magistrate Judge
